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                     BEFORE THE UNITED STATES JUDICIAL PANEL ON
                             MULTIDISTRICT LITIGATION


                                                   §
                                                   §
    In re Kia Hyundai Vehicle Theft Litigation     §   MDL No. 3052
                                                   §
                                                   §


                                 NOTICE OF RELATED ACTIONS

                                      SCHEDULE OF ACTIONS1

                  Case Caption                     Court        Civil Action No.      Judge
    Plaintiff:                                      N.D.         1:22-cv-04062     Hon. Sarah E.
    Mary Horne, individually and on behalf         Georgia                          Geraghty
    of all others similarly situated

    Defendants:
    Kia America, Inc. and Hyundai Motor
    America, Inc.
    Plaintiff:                                   N.D. Indiana    2:22-cv-00295     Hon. Philip P.
    Brandye Burnett, individually and on                                              Simon
    behalf of all others similarly situated

    Defendants:
    Kia America, Inc. and Hyundai Motor
    America, Inc.
    Plaintiff:                                   D. Minnesota    0:22-cv-02511     Hon. John R.
    Preston Broadway, individually and on                                           Tunheim
    behalf of all others similarly situated

    Defendants:
    Kia America, Inc., Hyundai Motor
    America, and Hyundai Kia America
    Technical Center, Inc.
    Plaintiff:                                      E.D.         2:22-cv-04074     Hon. Michael
    Zoraida Rivera, individually and on          Pennsylvania                       M. Baylson
    behalf of all others similarly situated

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 A copy of each action’s docket sheet and complaint (as publicly filed and without exhibits) is
attached as Exhibits 1 through 4.
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            Case Caption              Court    Civil Action No.   Judge

Defendants:
Kia America, Inc. and Hyundai Motor
America Corporation




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